Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 1 of 21

®3J8 45 (5/97) - (Revised U.S.D.C. MA 2/7/02)

Criminal Case Cover Sheet

‘|
U.S. District Court - District of Massachusetts

Place of Offense: Category No. _II Investigating Agency _DEA

City Lynn Related Case Information:

County _Essex Superseding Ind/ Inf. _X Case No. _04-10299 PBS
Same Defendant x New Defendant

Defendant Information:

M_04-1732- CBS
04 M _1720- to 1730, 04-M 1738

Magistrate Judge Case Number
Search Warrant Case Number
R 26/R 40 from District of

Defendant Name _RICARDO MANUEL ESTRADA Juvenile: Ci Yes X No
Alias Name

Address

Birthdate: SS # Sex: MALE Race: Hispanic Nationalit Mexican

Defense Counsel if known:

Eliot Weinstein, Esq.

Address 228 Lewis Wharf

Bar Number

617-367-9334

U.S. Attorney Information:

AUSA  _Neil Gallagher

Bar Number if applicable

Interpreter: xX Yes No List language and/or dialect: Spanish
Matier to be SEALED: Yes X No
Warrant Requested C) Regular Process X In Custody
Location Status:
Arrest Date
X Already in Federal Custody as of Wyatt Detention, Central Falls, RI
O Already in State Custody at C1) Serving Sentence C) Awaiting Trial
UO On Pretrial Release: Ordered by: on
Charging Document: Complaint CO) Information X Indictment
Total # of Counts: C) Petty CL} Misdemeanor X Felony —2-—————~

Continue on Page 2 for Entry of U.S.C. Citations

T hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date. —-3 /2/ cs

Signature of AUSA:

Seen aerate

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 2 of 21
JS 45 (3/97) (Revised U.S.D.C. MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant RICARDO MANUEL ESTRADA

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers
Set 1 21 USC 846 CONSPIRACY DISTRIBUTE COCAINE ]

Set2 _21 USC 84] POSS. WITH INTENT DIST. 5K OF COCAINE 9

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

js-45-lestradawpd.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 3 of 21

JS 45 (5/97) - (Revised U.S.D.C. MA 2/7/02) 4
Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. _II Investigating Agency _DEA
City Lynn Related Case Information:
County _Essex Superseding Ind./ Inf. x Case No. _04-10299 PBS

Same Defendant New Defendant

Magistrate Judge Case Number 04-M-1685 CBS
Search Warrant Case Number 04-M-1720-to-1730
R 20/R 40 from District of

Defendant Information:

Defendant Name ANDRES MARTINEZ-ACEVEZ Juvenile: O Yes X No
Alias Name “Samuel Linares”; “Castro Casimiro”; “Joel Zequeira”; “Zequeira”: “E] Viejo”

Address

Birthdate: SS # _000-00-2428 Sex: MALE Race: Hispanic Nationalit Mexican
Defense Counsel if known: John Cicilline, Esq. Address 381 Atwells Ave., Providence, RI
Bar Number

U.S. Attorney Information:

AUSA _Neil Gallagher Bar Number if applicable
Interpreter: xX Yes No List language and/or dialect: Spanish
Matter to be SEALED: Yes X No

Warrant Requested C) Regular Process X In Custody

Location Status:

Arrest Date 3/1/2004

X Already in Federal Custody as of in Wyatt Detention, Central F alls, RI
O Already in State Custody at C) Serving Sentence C) Awaiting Trial

CQ On Pretrial Release: Ordered by: on

Charging Document: Complaint Ci Information X Indictment

Total # of Counts: Cl] Petty Ci Misdemeanor ——— X Felony 2

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above,

Date: 46/5404 2 jaa/cs Signature of AUSA:

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 4 of 21

JS 45 (5/97) (Revised U.S.D.C. MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ANDRES MARTINEZ-ACEVEZ, a/k/a “Samuel Linares”: “Castro Casimiro”; “Joel Zequeira”;

“Zequeira’: “El Viejo”

U.S.C, Citations
Index Key/Code Description of Offense Charged Count Numbers
Setl 21 USC 846 CONSPIRACY DISTRIBUTE COCAINE ]

Set2 _21 USC 841 POSS. WITH INTENT DIST, 5K OF COCAINE 9

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

js-45-andres.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 5 of 21 -

®aS 45 (5/97) - (Revised U.S.D.C. MA 2/7/02}

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. II Investigating Agency DEA

City _Lynn Related Case Information:

County Essex Superseding Ind. Inf. Xx Case No. _04-10299 PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-M-1685 CBS
Search Warrant Case Number 04-M-1720 to 1730

R 20/R 40 from District of

Defendant Information:
Defendant Name JOSE ROSALES Juvenile: C] Yes X No
Alias Name TONY AKA TONO AKA JOEL AGOSTINI AKA JOSE ABREU
Address 88 NEWARK ST, LYNN MA
Birthdate: _5/10/76 SS # _000-00-4530 Sex: MALE Race: Hispanic Nationalit Mexican
Defense Counsel if known: Raymond A. O’Hara, Esq. Address _] Exchange Place., Worcester, MA
Bar Number
U.S. Attorney Information:
AUSA _. Bar Number if applicable
Interpreter: xX Yes No List language and/or dialect: Spanish
Matter to be SEALED: Yes X No

Warrant Requested LC] Regular Process X In Custody
Location Status:
Arrest Date 5/1/04
X Already in Federal Custody as of in Wyatt Detention, Central Falls, RI
UO Already in State Custody at CO Serving Sentence C] Awaiting Trial
CL] On Pretrial Release: Ordered by: on
Charging Document: Complaint C] Information X Indictment
Total # of Counts: O) Petty —~——— 1 Misdemeanor ———— x Felony ——4————_

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

. . enna ~> aon.
Date: B/a23/e5 Signature of AUSA: "2 ue

2 ne

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 6 of 21

JS 45 (5/97) (Revised U.S.D.C. MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant JOSE ROSALES, a/k/a “Tony”; “Tono”; “Joel Agostini”; “Jose Abreu”

U.S.C, Citations
Index Key/Code Description of Offense Charged Count Numbers

Set] 2] USC 846 CONSPIRACY DISTRIBUTE COCAINE ]

Set2 _21 USC 841 DISTRIBUTION OF COCAINE 3.4.5

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

j8-45-rosales.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 7 of 21

®aJS 45 (5/97) - (Revised U.S.D.C. MA 2/7/02)

Criminal Case Cover Sheet U.S, District Court - District of Massachusetts

Place of Offense: Category No. I Investigating Agency _DEA

City = _Lynn Related Case Information:

County _Essex Superseding Ind/ Inf. _X Case No. _04-10299 PBS
Same Defendant x New Defendant

Magistrate Judge Case Number 04-M-1685 CBS
Search Warrant Case Number 04-M-1720 to 1730
R 20/R 40 from District of

Defendant Information:

Defendant Name VALENTIN MARTINEZ Juvenile: CL] Yes X No
Alias Name VALENTIN RIVERA AKA V AKA VALE

Address 108 JOHNSON STREET, LYNN, MA

Birthdate: 12/20/69 SS# 000-000-3904 Sex: MALE Race: Hispanic Nationalit Mexican
Defense Counsel if known: Ronald Jan Segal, Esq. Address 23 Central Ave., Lynn, MA
Bar Number

U.S. Attorney Information:

AUSA _Neil Gallagher Bar Number if applicable
Interpreter: xX Yes X No List language and/or dialect: Spanish
Matter to be SEALED: Yes X No

Warrant Requested C) Regular Process x In Custody

Location Status:

Arrest Date 5/1/04

x Already in Federal Custody as of in Wyatt Detention, Central Falls, RI
O Already in State Custody at LJ Serving Sentence C) Awaiting Trial

(J On Pretrial Release: Ordered by: on

Charging Document: Complaint Q) Information X Indictment

Total # of Counts: L] Petty ————— O Misdemeanor ————- xO Felony 3

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

SUED Tp

Date: 3/23/05 Signature of AUSA: “"US4 F

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 8 of 21

JS45 (5/97) (Revised U.S.D.C. MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant VALENTIN MARTINEZ AKA VALENTIN RIVERA; V: VALE

Index Key/Code

Seti 21 USC 846

U.S.C, Citations

Description of Offense Charged Count Numbers
CONSPIRACY DISTRIBUTE COCAINE 1

Set2 _21 USC 84]

DIST. OF 5k COCAINE 6

Set3 _18 USC 924

POSS. OF FIREARM 7

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

js-45-valentin.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 9 of 21

IS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA

City _Lynn/Peabody

County _Essex

Category No.

Superseding Ind./Inf. Xx
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number

Investigating Agency _DEA/MSP

Related Case Information:

Case No. 04-10299-PBS

New Defendant
04-m-1685-CBS
04-m-1720 to 1730

R 20/R 40 from District of

Defendant Information:

Defendant Name MANUEL GERMOSEN

[] Yes No

Juvenile

Alias Name Kelvin Madera, Manolo
Address
Birth date (Year only): SSN (last 4 #): Sex M Race: Hispanic Nationality: _Dom Rep

Defense Counsel if known: Steven Judge

Address: 23 Central Ave., #605

Bar Number:

U.S. Attorney Information:

AUSA Neil Galtagher

Lynn. MA 01902

Bar Number if applicable

Interpreter: Yes C] No List language and/or dialect: Spanish
Matter tobeSEALED: [_]Yes [x] No
[ Warrant Requested C] Regular Process CJ] In Custody
Location Status:
Arrest Date:
Already in Federal Custody as May 1, 2005 in Plymouth County
[| Already in State Custody [] Serving Sentence [] Awaiting Trial
[] On Pretrial Release: Ordered by on
Charging Document: [ ] Complaint [ ] Information [x] Indictment
Total # of Counts: [J Petty [ | Misdemeanor [x] Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 33 / a3 / oS

Signature of AUSA: ~~ |

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 10 of 21

% JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant MANUEL GERMOSEN

U.S.C, Citations
Index Key/Code Description of Offense Charged
Set] 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 11 of 21

®aJS 45 (5/97) - (Revised U.S.D.C. MA 2/7/02)

Criminal Case Cover Sheet

US. District Court - District of Massachusetts

Place of Offense: Category No. _II Investigating Agency DEA

City  _Lynn Related Case Information:

County _Essex Superseding Ind/ Inf. _X Case No. _04-10299 PBS
Same Defendant X New Defendant

04-M-1685 CBS
04-M-1720 to 1730

Magistrate Judge Case Number
Search Warrant Case Number

R 20/R 40 from District of
Defendant Information:
Defendant Name ABDALLAH HAMDAN Juvenile: CL] Yes xX No
Alias Name
Address 10 ROOSEVELT ST METHUEN MA
Birthdate: 1/17/76 SS # _000-00-7550 Sex: MALE Race: Arabic Nationalit _Palestinian

Defense Counsel if known:

Melvin Norris, Esq.

Address 260 Boston Post Rd., Wayland, MA

Bar Number

U.S. Attorney Information:

AUSA _Neil Gallagher

Interpreter: [Cl] Yes X No

Matter to be SEALED: Yes
Warrant Requested

Location Status:

Arrest Date 5/1/04

Bar Number if applicable

List language and/or dialect:

No

Ci Regular Process X In Custody

X Already in Federal Custody as of

in Wyatt Detention, Central Falls, RI

O Already in State Custody at

C] Serving Sentence QO Awaiting Trial

on

LI On Pretrial Release: Ordered by:
Charging Document: Complaint
Total # of Counts: L] Petty

CJ Information X Indictment

(] Misdemeanor —— OX Felony ——4———

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 3/33/08

Signature of AUSA:

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 12 of 21
JS 45 (5/97) (Revised U.S.D.C. MA 2/7/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ABDALLAH HAMDAN

U.S.C. Citations
Index Kev/Code Description of Offense Charged Count Numbers

Set 1 21 USC 846 CONSPIRACY DISTRIBUTE COCAINE !

Set2 _21 USC 841 DISTRIBUTION OF COCAINE 3.4.5

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set [1

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

js-45-hamdan.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 13 of 21

®aJS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

our

U.S. District Court - District of Massachusetts

Place of Offense: MA

Category No.

City _Lynn/Peabody

County Essex

Defendant Information:

Investigating Agency _[DEA/MSP

Related Case Information:

Superseding Ind/Inf. _X
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Case No.
New Defendant
04-m-1685-CBS
04-m-1720 to 1730

04-10299-PBS

Defendant Name RICARDO MARTINEZ Juvemle [| Yes No
Alias Name Chorizo, Chon
Address
Birth date (Year only): __—s SSN (last4#): _ Sex .M Race: Hispanic Nationality: Dom Rep
Defense Counsel if known: Address:
Bar Number:
U.S. Attorney Information:
AUSA Neil Gallagher Bar Number if applicable
Interpreter: [x] Yes [] No List language and/or dialect: Spanish
Matter tobe SEALED: []Yes  [k]No
C] Warrant Requested Cc Regular Process [Jin Custody
Location Status:
Arrest Date:
[| Already in Federal Custody as in
[] Already in State Custody [ | Serving Sentence [| Awaiting Trial
[] On Pretrial Release: Ordered by on

Charging Document:

Total # of Counts:

[] Complaint

| Petiy

[J Information [x] Indictment

[] Misdemeanor —__ Felony 1 count

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 73/23 es

Signature of AUSA: — . _ 2 OT

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 14 of 21

€IS 45 (5/97) - (Revised USAO MA 3/2542) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant RICARDO MARTINEZ

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set] 21 U.S.C, Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 15 of 21

®3JS8 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: .MA

City _Lynn/Peabody

County _Essex

Category No.

Superseding Ind/ Inf. X
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number

Investigating Agency _DEA/MSP

Related Case Information:

Case No.
New Defendant
04-m-1685-CBS
04-m-1720 to 1730

04-10299-PBS

R 20/R 40 from District of

Defendant Information:

Defendant Name HOWARD GREENBERG Juvenile  [[] Yes No
Alias Name

Address

Birth date (Year only): _ ss SSN (last 4#): Sex M Race: Caucasian _ Nationality: US

Defense Counsel if known: Roger Witkin

Address: 6 Beacon Street, Ste 1010

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallagher

Boston, MA 02108

Bar Number if applicable

Interpreter: [J Yes [] No List language and/or dialect: Spanish
Matter to be SEALED: | Yes [x ] No

[] Warrant Requested CJ Regular Process CJ In Custody
Location Status:
Arrest Date:
C] Already in Federal Custody as in
[| Already in State Custody [| Serving Sentence [ Awaiting Trial
On Pretrial Release: Ordered by _MJ Swartwood on May 2004
Charging Document: [| Complaint CT] Information Indictment

Total # of Counts:

[| Petty

[| Misdemeanor 1 count

_ Felony

Continue on Page 2 for Entry of U.S.C, Citations

i]

accurately set forth above.

Date: 3 jrQ2 [es

Signature of AUSA? ~~

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 16 of 21

8 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (Tc be filled in by deputy clerk):

Name of Defendant HOWARD GREENBERG

U.S.C. Citations
Index Keyv/Code Description of Offense Charged

Set1 21 U.S.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 17 of 21

"a5 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA

City _Lynn/Peabody

County _Essex

Category No.

Superseding Ind./ Inf. X
Same Defendant x

Magistrate Judge Case Number
Search Warrant Case Number

Investigating Agency .DEA/MSP

Related Case Information:

Case No. 04-10299-PBS

New Defendant
04-m-1685-CBS
04-m-1720 to 1730

R 20/R 40 from District of

Defendant Information:

Defendant Name _EDGAR HOFFENS Juvenile [_] Yes No
Alias Name Carlos Colon Rivera, Tigueron

Address

Birth date (Year only): ____— SSN (last 4#): _ ss Sex _M_ Race: Caucasian Nationality: US
Defense Counsel if known: John Wall Address: 1 Commercial Wharf West

Bar Number:

U.S. Attorney Information:

AUSA Neil Gallapher

Boston, MA 02110

Bar Number if applicable

Interpreter:

[x] Yes [_] No
C7] Yes

C] Warrant Requested

Matter to be SEALED:

Location Status:

Arrest Date:

List language and/or dialect: Spanish

[x ] No

Ix] Already in Federal Custody as

[] Already in State Custody

[] On Pretrial Release: Ordered by

Charging Document:

Total # of Counts:

[] Petty

Cq Complaint

J Regular Process Clin Custody
in
[ | Serving Sentence [] Awaiting Trial
on
J Information [x] Indictment

[J Misdemeanor __ 1 count

Felony

Continue on Page 2 for Entry of U.S.C. Citations

[x]

accurately set forth above.

Date: = /2 34S

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

Signature of AUSAT™ =~ 5 ey

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 18 of 21

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant EDGAR HOFFENS

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set 1 211.8.C. Sec. 846 Conspiracy to Distribute 5 Kg of Cocaine

Count Numbers

Count One

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 19 of 21

(3
®aJS 45. (5/97) - (Revised U.S.D.C. MA 2/7/02)
Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. _II Investigating Agency _DEA
City Lynn Related Case Information:
County _Essex Superseding Ind/Inf.  X Case No. _04-10299 PBS
Same Defendant X New Defendant

Magistrate Judge Case Number 04-M-1685 CBS
Search Warrant Case Number 04-M-1720 to 17360
R 20/R 40 from District of

Defendant Information:

Defendant Name ROGELIO GARCIA Juvenile: O Yes xX No
Alias Name LACUILLA AKA LACUILLA AKA LACUIJI AKA EL JAROCHO AKA LA COLADERA
Address 85 WALNUT AVE., REVERE, MA

Birthdate: 7/15/80 SS # XXX-XX-XXXX Sex: MALE Race: Hispanic Nationalit USA
Defense Counsel if known: James H. Budreau, Esq. Address 20 Park Plaza, Boston, MA
Bar Number

U.S, Attorney Information:

AUSA  _Neil Gallagher Bar Number if applicable
Interpreter: L} Yes X No List language and/or dialect:
Matter to be SEALED: Yes X No

Warrant Requested XO) Regular Process In Custody

Location Status:

Arrest Date
Already in Federal Custody as of in
O Already in State Custody at [] Serving Sentence C] Awaiting Trial
X On Pretrial Release: Ordered by: Mag. Judge Swartwood on
Charging Document: Complaint C1] Information X Indictment
Total # of Counts: FC Petty ——___ 0 Misdemeanor ——7—— OX Felony ——2—-—_

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 3/23 {es Signature of AUSA: <p So es

Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 20 of 21

JS 45 (5/97) (Revised U.S.B.C.MA 2/1/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant ROGELIO GARCIA

U.S.C. Citations
Index Key/Code Description of Offense Charged Count Numbers

Set! (21 USC 846 CONSPIRACY DISTRIBUTE COCAINE 1

Set2 _21 USC 84] DIST, OF 5K COCAINE 6

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

Jjs-43-garcia.wpd - 2/7/02
Case 1:04-cr-10299-PBS Document 95-2 Filed 03/23/05 Page 21 of 21

JS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet

iy

U.S. District Court - District of Massachusetts

Place of Offense: MA

City _Lynn/Peabody

County Essex

Category No.

Superseding Ind./ Inf.
Same Defendant

Magistrate Judge Case Number
Search Warrant Case Number

Investigating Agency _DEA/MSP

Related Case Information:

x Case No.
New Defendant
04-m-1685-CBS

04-m-1720 to 1730

04-10299-PBS

x

R 20/R 40 from District of

Defendant Information:

Defendant Name _JAVIER ANGEL ROMERO Juvenile J Yes No
Alias Name _Ramon Acosta, the Singer
Address
Birth date (Year only): _____sSSN (last 4 #): _____ Sex _M Race: _Hispanic Nationality:
Defense Counsel if known: Ray Buso Address: 15 Church Street
salem, MA 01970
Bar Number:
U.S. Attorney Information:
AUSA Neil Gallagher Bar Number if applicable
Interpreter: Yes TJ No List language and/or dialect: Spanish
Matter tobe SEALED: [[]Yes [x] No
CC Warrant Requested CJ Regular Process [J In Custody
Location Status:
Arrest Date:
[x] Already in Federal Custody as in
[| Already in State Custody [] Serving Sentence L] Awaiting Trial
J On Pretrial Release: Ordered by on
Charging Document: [J Complaint [7] Information [x] Indictment
Total # of Counts: [] Petty [] Misdemeanor _ Felony 1 count

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accurately set forth above.

Date: 5 /? 3f4 S

I hereby certify that the case numbers of any prior proceedings before

oS
Signature of AUSA: = =, ——=

a Magistrate Judge are

